          Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 1 of 24




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

SYNASIA SANDERS, individually )
and on behalf of all others similarly )
situated,                             )
                                      )        CIVIL ACTION NO. ___________
                  Plaintiff,          )
                                      )
v.                                    )        JURY TRIAL DEMANDED
                                      )
OS RESTAURANT SERVICES,               )
LLC, OUTBACK STEAKHOUSE )
INTERNATIONAL, L.P. and               )
OUTBACK STEAKHOUSE OF                 )
FLORIDA, LLC,                         )
                                      )
                  Defendants.         )

        PLAINTIFF’S ORIGINAL COLLECTIVE ACTION COMPLAINT

   1.      The case implicates Defendant OS Restaurant Services, LLC’s, Defendant

Outback Steakhouse International, L.P.’s, and Defendant Outback Steakhouse of

Florida, LLC’s (“Defendants” collectively) violations of the Fair Labor Standards

Act’s (“FLSA”) tip credit and subsequent underpayment of their employees at the

federally mandated minimum wage rate for Defendants’ failure to pay Plaintiff and

all similarly situated workers their earned minimum wages. Plaintiff brings this case

as a collective action under the FLSA, 29 U.S.C. 216(b).




                                         1
        Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 2 of 24




                            SUMMARY OF ACTION

   2.     Defendants pay their tipped employees below the minimum wage rate by

taking advantage of the tip-credit provisions of the FLSA. Under the tip-credit

provision, an employer of tipped employees may, under certain circumstances, pay

those employees less than the minimum wage rate by taking a “tip credit” against

the employer’s minimum wage obligations from the tips received from customers.

   3.     However, there are strict requirements for an employer to utilize the “tip

credit.” See 29 U.S.C. 203(m). An employer must advise an employee in advance

of its use of the tip credit pursuant to the provisions of section 3(m) of the FLSA.

See id. (the tip credit provision “shall not apply with respect to any tipped employee

unless such employee has been informed by the employer of the provisions of this

subsection.”). That is, the employer must inform the employee: (1) the amount of

the cash wage that is to be paid to the tipped employee; (2) the amount by which the

wages of the tipped employee are increased on account of the tip credit; (3) that all

tips received by the employee must be retained by the employee except for tips

contributed to a valid tip pool; and (4) that the tip credit shall not apply to any

employee who does not receive the notice.

   4.     Further, it is illegal for employers to require tipped employees to give up

a portion of their tips to their employer or to ineligible employees, such as

                                          2
        Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 3 of 24




management staff. See Myers v. Copper Cellar Corp., 192 F.3d 546, 551 (6th Cir.

1999) (for “the work shifts in which salad mixers were included within the tip pool,

the pooling scheme was illegal...”); Portales v. MBA Inv. Co., LLC, No.

3:13CV00001, 2014 WL 5795206, at *3 (N.D. Ohio Oct. 16, 2014) (“When an

employer includes a non-customarily tipped employee or another employer in a

mandatory tip pool, the pool is invalid under FLSA.” (citing 29 U.S.C. § 203));

Bernal v. Vankar Enter., Inc., 579 F. Supp. 2d 804, 810 (W.D. Tex. 2008) (employer

not permitted to take the FLSA tip credit when it required waiters to pay for

shortages and unpaid tabs).

   5.     Additionally, an employer must pay the minimum statutory hourly rate

($2.13 per hour under the FLSA). See 29 U.S.C. 203(m).

   6.     Moreover, an employer cannot pay below the minimum wage to tipped

employees and require those tipped employees to perform non-tipped work that is

unrelated to the tipped occupation. See Driver v. AppleIllinois, LLC, 739 F.3d 1073,

1075 (7th Cir. 2014) (explaining that when tipped employees perform “non-tipped

duties” that “are unrelated to their tipped duties…such as, in the case of restaurant

servers, washing dishes, preparing food, mopping the floor, or cleaning bathrooms,

they are entitled to the full minimum wage for the time they spend at that work.”);

Romero v. Top-Tier Colorado LLC, 849 F.3d 1281, 1285 (10th Cir. 2017); Osman

                                         3
        Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 4 of 24




v. Grube, Inc., No. 16-CV-802, 2017 WL 2908864, at *4 (N.D. Ohio July 7, 2017)

(employer may not take a tip credit for the time that a tipped employee spends on

work that is not related to the tipped occupation); Roussell v. Brinker Intern., Inc.,

No. 05 Civ. 3733, 2008 WL 2714079, at *12 (S.D. Tex. July 9, 2008) (“An employer

may take a tip credit for an employee that works ‘dual jobs,’ but only for the time

the employee spends working in his “tipped employee” capacity.”) (quoting 29

C.F.R. 531.56(e)).

   7.     Finally, an employer cannot require its tipped employees to perform non-

tipped work that is related to the employees’ tipped occupation but exceeds 20

percent of the employees’ time worked during a workweek. See Marsh v. J.

Alexander’s, LLC, 905 F.3d 610, 626-28 (9th Cir. 2018) (adopting 20% standard for

dual jobs regulation and finding the DOL’s opinion on dual jobs for tipped workers

to be entitled to deference); Fast v. Applebee’s Intern., Inc., 638 F.3d 872, 881 (8th

Cir. 2011) (granting the DOL’s 20% standard deference); Driver v. AppleIllinois,

LLC, No. 06 Civ. 6149, 2012 WL 3716482, at *2 (N.D. Ill. Aug. 27, 2012) (“An

employer may take a tip credit only for hours worked by [an] employee in an

occupation in which [he] qualifies as a tipped employee.”); Driver v. AppleIllinois,

LLC, 739 F.3d 1073, 1075 (7th Cir. 2014) (the court indirectly cast its imprimatur

on the DOL’s aforementioned dual-jobs regulation and Field Operations Handbook,

                                          4
           Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 5 of 24




citing both the “related to” standard in 29 C.F.R. § 531.56(e) and the 20% standard

in § 30d00(e)); Flood v. Carlson Restaurants, Inc., No. 13 Civ. 6458 (AT), 2015

WL 1396257 (S.D.N.Y. Mar. 27, 2015) (denying Defendants’ motion to dismiss

explaining that the 20% standard is a reasonable interpretation of the FLSA and

ultimately granting 216(b) notice); Ide v. Neighborhood Restaurant Partners, LLC,

No. 13 Civ. 509 (MHC), 2015 WL 11899143, at *6 (N.D. Ga., 2015) (“. . . a

reasonable interpretation of § 531.56(e) is that [plaintiff] would be entitled to

minimum wage if she spends more than twenty percent of her time performing

related but non-tipped duties.”); Crate v. Q’s Restaurant Group LLC, 2014 WL

10556347, at *4 (M.D. Fla., 2014) (“[T]he Court concludes that the 20% rule

clarifies the ambiguity contained in 29 C.F.R. § 531.56(e) by delineating how much

time a tipped employee can engage in related, non-tip-producing activity before such

time must be compensated directly by the employer at the full minimum wage

rate.”).

   8.       Defendants violated the FLSA in the following respects:

             a. Violation for failure to inform: Defendants failed to correctly
                inform Plaintiff of the desire to rely on the tip credit to meet their
                minimum wage obligations. In fact, Defendants failed to inform
                Plaintiff of the following: (1) the amount of the cash wage that is to
                be paid to the tipped employee; (2) the amount by which the wages
                of the tipped employee are increased on account of the tip credit; (3)
                that all tips received by the employee must be retained by the
                employee except for tips contributed to a valid tip pool; and (4) that
                                           5
        Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 6 of 24




              the tip credit shall not apply to any employee who does not receive
              the notice.

           b. Violation for making illegal deductions that reduced the direct
              wage of Plaintiff below the minimum required hourly wage for
              tipped employees: Plaintiff was required to purchase certain clothing
              to work for Defendants, which reduced her wages below the minimum
              hourly wage required for tipped employees.

           c. Violation for performing work unrelated to tipped occupation:
              Plaintiff was required to perform improper types, and excessive
              amounts, of non-tipped work, including, but not limited to sweeping,
              cleaning pictures and light fixtures, polishing silverware and glasses,
              cleaning ledges, cleaning bathrooms, deep cleaning the restaurant,
              scraping gum from underneath tables, preparing the potato bar,
              making butter balls, making bread, cleaning the soda machine, and
              applying Murphy Oil Soap to the hardwood on seats and booths.

           d. Violation for performing non-tipped side work in excess of 20%
              of the time spent working in the week: Plaintiff was required to
              perform greater than 20% of his time in performing non-tip producing
              side work, including, but not limited to setting up tables, cleaning
              tables, bussing tables, wiping booths, refilling condiments, amongst
              other duties.

   9.     As a result of these violations, Defendants have lost the ability to use the

tip credit and therefore must compensate Plaintiff and all similarly situated workers

at the full minimum wage rate, unencumbered by the tip credit, and for all hours

worked. In other words, Defendants must account for the difference between the

wages paid to Plaintiff and all similarly situated workers and the minimum wage

rate.



                                          6
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 7 of 24




              SUBJECT MATTER JURISDICTION AND VENUE

   10.      This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331

as this case is brought under the laws of the United States, specifically the FLSA, 29

U.S.C. § 216(b), et. seq.

   11.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

a substantial part of the events and omissions giving rise to this claim occurred in

this district, including many of the wrongs herein alleged. In particular, Plaintiff

worked for Defendants in this District and was denied the wages she is owed in this

District. Thus, Plaintiff was harmed in this District.

                  PARTIES AND PERSONAL JURISDICTION

   12.      Plaintiff Synasia Sanders is an individual who worked for Defendants in

Atlanta, Georgia. Her written consent to this action is attached hereto as Exhibit

“A.”

   13.      The Class Members are all current and former tipped employees who

worked for Defendants for at least one week during the three-year period prior to the

filing of this action to the present.

   14.      Defendant OS Restaurant Services, LLC is a foreign limited liability

company doing business in Georgia. Said Defendant may be served with process by




                                          7
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 8 of 24




serving its registered agent: Corporate Creations Network, Inc., 2985 Gordy

Parkway, 1st Floor, Marietta, GA 30066.

   15.     Defendant Outback Steakhouse International, L.P. is a foreign limited

liability partnership doing business in Georgia. Said Defendant may be served with

process by serving its registered agent: Corporate Creations Network, Inc., 2985

Gordy Parkway, 1st Floor, Marietta, GA 30066.

   16.     Defendant Outback of Steakhouse of Florida, LLC is a foreign limited

liability company doing business in Georgia. Said Defendant may be served with

process by serving its registered agent: Corporate Creations Network, Inc., 2985

Gordy Parkway, 1st Floor, Marietta, GA 30066.

   17.     Personal jurisdiction exists over Defendants because they have sufficient

minimum contacts with the State of Georgia to confer personal jurisdiction.

Defendants conduct business throughout Georgia. Furthermore, Defendants

contracted with and employ Georgia residents, have Georgia customers, market to

residents of Georgia, and own property in Georgia. Moreover, the violation of the

law and the harm committed to Plaintiff occurred in Georgia.

                                  COVERAGE

   18.     At all material times, Defendants have been an employer within the

meaning of the FLSA. 29 U.S.C. § 203(d).

                                          8
           Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 9 of 24




   19.       At all material times, Defendants have been an enterprise in commerce

or in the production of goods for commerce within the meaning of the FLSA. 29

U.S.C. § 203(s)(1).

   20.       At all material times, Defendants have enjoyed yearly gross revenue in

excess of $500,000.

   21.       At all material times, Plaintiff was an employee engaged in the commerce

or the production of goods for commerce.

   22.       At all material times, Defendants have operated as a “single enterprise”

within the meaning of 29 U.S.C. § 203(r)(1). That is Defendants perform related

activities through unified operation and common control for a common business

purpose.

   23.       Defendants operate a nationwide chain of restaurants with the name

“Outback Steakhouse” under the control of the same senior-level management.

Indeed, the restaurants advertise themselves as a unified entity through the same

website.

   24.       Defendants represent themselves to the public as one restaurant operating

at multiple locations. They share employees, have a common management, pool

their resources, operate from the same headquarters, have common ownership, and

have the same operating name.

                                           9
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 10 of 24




   25.      Defendants operate under a unified business model and part of that

unified business model is the wage violations alleged in this Complaint.

   26.      Thus, Defendants formed a “single enterprise” and are liable for the

violations of the others.

                                     FACTS

   27.      Defendants operate a nationwide chain of restaurants under the trade

name “Outback Steakhouse” throughout the U.S. Defendants operate in Arizona,

Alabama, Florida, Missouri, Georgia, New Mexico, Oklahoma, Ohio, Tennessee,

Texas and other states.

   28.      The Outback Steakhouse restaurants are full-service restaurants that

employ waiters to provide services to customers.

   29.      A waiter gathers orders from customers and delivers food and drinks to

the customers. A waiter is paid an hourly wage by Defendants and receives tips from

customers. A bartender prepares and serves drinks to customers. A bartender is paid

an hourly wage by Defendants and receives tips from customers.

   30.      However, Defendants paid their tipped workers less than the minimum

wage.

   31.      Defendants attempted to utilize the tip credit to meet their minimum

wage obligation to their tipped workers, including the Plaintiff and Class Members.

                                        10
          Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 11 of 24




   32.        Plaintiff worked for Defendants at the Outback Steakhouse in Atlanta,

Georgia. She worked as a waitress and was paid less than the federal minimum

wage. Plaintiff worked for Defendants from approximately July 2016 to February

2020.

   33.        The tip credit has a harmful effect on workers that threatens the health of

the economy. Adasina Social Capital, a company representing investors with more

than $538 billion in assets, has issued a letter to large corporations operating

restaurants     advising     of   the    ills        of   using   the   tip   credit.   (See

https://adasina.com/investor-statement-in-support-of-ending-the-subminimum-

wage/, last visited November 5, 2021). The letter states as follows:

         Tipped workers are the largest group paid a subminimum wage
         and represent approximately six million people in the United
         States. The restaurant industry by far employs the largest number
         of tipped workers, representing 13.6 million people.

         Frozen at $2.13 per hour, a tipped subminimum wage worker
         can be paid as little as $4,430 per year for full-time work. As
         a result, in the 42 states that allow payment of a subminimum
         wage, tipped workers are more than twice as likely to live in
         poverty, and the rates are even higher for women and people of
         color. The subminimum wage for tipped workers has risen little
         since it was enacted following the emancipation of slavery, a time
         when employer trade associations pushed to recoup the costs of
         free, exploited labor.

(Id.) (emphasis in original)



                                                11
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 12 of 24




   34.      Given the harmful effects of the tip credit, there are strict requirements

that must be met by an employer who seeks to utilize the tip credit to meet its

minimum wage obligations.

   35.      In this case, Defendants did not satisfy the strict requirements to use the

tip credit. Defendants maintained a policy and practice whereby they failed to

provide the Plaintiff and the Class Members with the statutorily required notice

regarding (1) the amount of the cash wage that is to be paid to the tipped employee,

(2) the amount by which the wages of the tipped employee are increased on account

of the tip credit, (3) that all tips received by the employee must be retained by the

employee except for tips contributed to a valid tip pool, and (4) that the tip credit

shall not apply to any employee who does not receive the notice.

   36.      Defendants also maintained a policy and practice whereby tipped

employees were required to perform non-tip producing side work unrelated to the

employees’ tipped occupation. As a result, Plaintiff and the Class Members were

engaged in dual occupations while being compensated at the tip credit rate. While

performing these non-tip generating duties, they did not interact with customers and

could not earn tips.

   37.      These duties include but are not limited to the following: sweeping,

cleaning pictures and light fixtures, polishing silverware and glasses, cleaning

                                          12
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 13 of 24




ledges, cleaning bathrooms, deep cleaning the restaurant, scraping gum from

underneath tables, preparing the potato bar, making butter balls, making bread,

cleaning the soda machine, and applying Murphy Oil Soap to the hardwood on seats

and booths, amongst other activities that were not related to tipped duties.

   38.      Defendants also maintained a policy and practice whereby tipped

employees were required to spend a substantial amount of time, in excess of 20

percent, performing non-tip producing side work related to the employees’ tipped

occupation.

   39.      Specifically, Defendants maintained a policy and practice whereby

tipped employees were required to spend a substantial amount of time performing

non-tip producing side work, including, but not limited to setting up tables, cleaning

tables, bussing tables, wiping booths, and refilling condiments.

   40.      Further, Defendants required Plaintiff and the Class Members to perform

non-tip producing work prior to the opening of the restaurant and after the restaurant

closed. Indeed, Defendants required the Plaintiff and the Class Members to arrive

prior to the restaurant’s opening for business, when there were no customers and no

opportunities to earn tips, to perform manual labor cleaning and setup duties.

Likewise, Defendants required the Plaintiff and Class Members to remain at the

restaurants after they had closed for business and when there was no opportunity to

                                          13
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 14 of 24




earn tips, to perform manual labor cleaning duties. At times, they spent 31 minutes

to two hours performing work before the restaurant was open and the same amount

of time after the restaurant was closed performing non-tip producing work.

   41.      However, Defendants did not pay their tipped employees the full

minimum wage rate for this work. The duties that Defendants required Plaintiff and

the Class Members to perform were duties that are customarily assigned to “back-

of-the-house” employees in other establishments, who typically receive at least the

full minimum wage rate.

   42.      During Plaintiff’s and the Class Members’ employment, checklists were

posted in Defendants’ restaurants with numerous non-tipped duties that tipped

employees were required to perform, in addition to serving customers.

   43.      When the tipped employees performed these non-tipped duties, they

usually did not interact with customers and did not have an opportunity to earn tips.

   44.      Indeed, Defendants did not have a policy prohibiting tipped employees

from performing certain types, or excessive amounts, of non-tipped work.

   45.      Defendants did not track or record the amount of time the tipped

employees spent performing non-tipped work, even though Defendants were capable

of doing so. Defendants’ timekeeping system was capable of tracking multiple job




                                         14
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 15 of 24




codes for different work assignments, but Defendants failed to track to the specific

tasks for Plaintiff or the Class Members.

   46.       Defendants use a point-of-sale system to record hours worked by their

tipped employees. Defendants then analyze the information collected by this

system, including the labor costs at each of the restaurants. Defendants’ timekeeping

system was capable of tracking multiple job codes for different work assignments,

but Defendants failed to track to the specific tasks for Plaintiff and the Class

Members.

   47.       In the point-of-sale system, Defendants can create different “clock in”

codes that would allow tipped employees to record their time at the full minimum

wage when performing non-tipped work.

   48.       However, Defendants did not allow their tipped employees to clock-in at

the full minimum wage rate when performing the non-tipped work described in this

Complaint.

   49.       Defendants’ managers at the restaurants were eligible to receive bonuses,

in part, based on meeting or exceeding certain labor cost targets, which created an

incentive to keep the amount paid to tipped employees low.

   50.       Moreover, Defendants violated the FLSA by not even paying the

minimum “tipped” hourly rate. Defendants required their tipped employees to pay

                                            15
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 16 of 24




for items for their uniform, including shirts, pants, and shoes. These clothing items

were required to perform work for Defendants and were primarily for the benefit and

convenience of Defendants. The costs for these items were not reimbursed by

Defendants.

   51.      Because Defendants paid their tipped employees at the minimum of

$2.13 per hour (or the state’s respective tipped wage), any week in which a tipped

employee was required to pay for work-related expenses for Defendants’ business,

their compensation fell below the minimum wage rate, thereby negating Defendants’

entitlement to claim the tip credit.

   52.      In other words, by requiring Plaintiff and the Class Members to pay for

these work-related expenses, their hourly rates of pay were reduced by the amount

of these uniform costs. As a result, they were not even paid the minimum hourly

rate necessary for Defendants to claim the tip credit.

   53.      Because Defendants violated the requirements to claim the tip credit,

Defendants lost the right to take a credit toward their minimum wage obligation to

Plaintiff and the Class Members.

   54.      As such, Plaintiff and the FLSA Class Members were not compensated

at the federally mandated minimum wage.




                                          16
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 17 of 24




   55.      Defendants knew or should have known that their policies and practices

violate the law, and Defendants have not made a good faith effort to comply with the

FLSA. Rather, Defendants acted knowingly, willfully, and/or with reckless disregard

of the law, carried and continue to carry out the illegal pattern and practice regarding

their tipped employees as described in this Complaint. Defendants’ method of paying

Plaintiff and the Class Members was not based on a good faith and reasonable belief

that their conduct complied with the law.

                REVISED FIELD OPERATIONS HANDBOOK
                  AND NEW DUAL JOBS REGULATION

   56.      On November 8, 2018, the Department of Labor issued opinion letter

FLSA2018-27 which provided a standard for interpreting the dual jobs regulation

that was different than the “80/20” rule that had existed at the time. However, nearly

every court to have considered this opinion letter held that the opinion letter was not

entitled to any deference. See, e.g., Callaway v. DenOne, LLC, No. Civ. A. 1:18-cv-

1981, 2019 WL 1090346 (N.D. Ohio Mar. 8, 2019); Cope v. Let’s Eat Out, Inc., 354

F. Supp. 3d 976 (W.D. Mo. 2019). Spencer v. Macado’s, Inc., 399 F. Supp. 3d 545,

552-53 (W.D. Va. 2019); Flores v. HMS Host Corp., No. 8:18-cv-03312-PX, 2019

U.S. Dist. LEXIS 183906 (D. Md. Oct. 23, 2019).

   57.      Therefore, the Department of Labor announced its intention to revise the

dual jobs regulation found in 29 C.F.R. § 531.56(e) and issued a notice of proposed
                                          17
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 18 of 24




rule-making           on           October              8,      2019.           (See

https://www.federalregister.gov/documents/2019/10/08/2019-20868/tip-

regulations-under-the-fair-labor-standards-act-flsa).

   58.      After soliciting comments, the Department of Labor published its final

rule on December 30, 2020, which had an effective date of March 1, 2021.

(https://www.federalregister.gov/documents/2020/12/30/2020-28555/tip-

regulations-under-the-fair-labor-standards-act-flsa). After delaying the effective

date of the Final Rule (https://www.dol.gov/agencies/whd/flsa/tips), on June 21,

2021, the Department of Labor announced “a notice of proposed rulemaking to limit

the amount of non-tip producing work that a tipped employee can perform when an

employer             is           taking           a           tip           credit.”

(https://www.federalregister.gov/documents/2021/06/23/2021-13262/tip-

regulations-under-the-fair-labor-standards-act-flsa-partial-withdrawal).

   59.      After soliciting more comments, the Department of Labor announced on

October 28, 2021, the publication of a final rule (Tips Dual Jobs final rule).

(https://www.dol.gov/agencies/whd/flsa/tips).

   60.      Under the Final Rule, an employer cannot take a tip credit for any of the

time spent by a tipped worker performing any non-tipped work that exceeds 30




                                           18
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 19 of 24




minutes. That is, when a tipped worker performs non-tipped work for a continuous

period of time exceeding 30 minutes, the employer cannot claim the tip credit.

   61.      Here, Defendants illegally required Plaintiff and the Class Members to

perform non-tip producing work for an excessive period of time. That is because

Defendants required Plaintiff and the Class Members to perform non-tipped work

31 minutes to two hours before the restaurants were open for business, throughout

their shifts, or after they were closed, when the restaurants did not have customers

and there was no opportunity to earn tips. During this time, Defendants paid below

the minimum wage rate and forced the Plaintiff and Class Members to perform non-

tip producing duties, as noted above.

   62.      Given that Defendants failed to comply with the requirements to take

the tip credit, Defendants have lost the ability to claim the tip credit and owe Plaintiff

and the Class Members pay at the full minimum wage rate per hour for all hours they

worked for Defendants.

                      COLLECTIVE ACTION ALLEGATIONS

   63.      Plaintiff brings this action as an FLSA collective action pursuant to 29

U.S.C. § 216(b) on behalf of all persons who were or are employed by Defendants

as a tipped worker for at least one week during the three-year period prior to the

commencement of this action to the present.

                                           19
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 20 of 24




   64.      Plaintiff has actual knowledge, through conversations with her co-

workers, that a collective of similarly situated workers exists who have been

subjected to the same policies of Defendants with respect to the payment of the

minimum wage.

   65.      The FLSA Class Members are similarly situated to Plaintiff in that they

share the same duties and were subject to the same violations of the FLSA.

   66.      Like Plaintiff, the FLSA Class Members were not given proper notice of

the tip credit provisions and performed substantial work that was unrelated to their

tip producing duties for a significant period of time.

   67.      Moreover, the FLSA Class Members were also subject to deductions and

expenses that dropped their compensation below the minimum wage.

   68.      Plaintiff and the FLSA Class Members all labored under the same

corporate structure, the same corporate policies, the same corporate chain of

command, and pursuant to the rules in the same company handbook.

   69.      The names and address of the FLSA Class Members are available from

Defendants’ records. To the extent required by law, notice will be provided to these

individuals by first class mail, email, text message, or by the use of techniques and

a form of notice similar to those customarily used in representative actions.




                                          20
          Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 21 of 24




   70.        Although the exact amount of damages may vary among the FLSA Class

Members in proportion to the number of hours they worked, damages for each

individual can be easily calculated using a simple formula.

   71.        As such, the class of similarly situated Class Members is properly defined

as follows:

         All current and former tipped employees who worked for
         Defendants for at least one week during the three-year period prior
         to the filing of this action to the present.

                                 CAUSE OF ACTION

                                        COUNT I

                    VIOLATION OF THE FAIR LABOR STANDARDS ACT

                         FAILURE TO PAY THE MINIMUM WAGE

   72.        Plaintiff incorporates the preceding paragraphs by reference.

   73.        This count arises from Defendants’ violation of the FLSA in connection

with their failure to pay the minimum wage. See 29 U.S.C. § 206.

   74.        Plaintiff and the Class Members were paid hourly rates less than the

minimum wage while working for Defendants.

   75.        Plaintiff and the Class Members were not exempt from the minimum

wage requirements of the FLSA.




                                            21
         Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 22 of 24




   76.      Defendants’ failure to comply with the minimum wage requirements of

the FLSA, and, in particular, the tip credit requirements, resulted in Plaintiff and the

Class Members being paid less than the Federal minimum wage rate.

   77.      Defendants’ failure to pay the minimum wage to Plaintiff and the Class

Members in violation of the FLSA was willful and not based on a good faith belief

that their conduct did not violate the FLSA. 29 U.S.C. § 255(a).

                          WAGE DAMAGES SOUGHT

   78.     Plaintiff and the Class Members are entitled to receive the difference

between the minimum wage and the tip credit adjusted minimum wage for each hour

they worked.

   79.     Plaintiff and the Class Members are entitled to liquidated damages.

   80.     Plaintiff and the Class Members are also entitled to recover their

attorney’s fees and costs, as required by the FLSA.

                                  JURY DEMAND

   81.     Pursuant to her rights under the Constitution of the United States, U.S.

CONST. amend VII, and FED R. CIV. P. 38(a), Plaintiff hereby demands trial by jury.

                              PRAYER FOR RELIEF

   82.     For these reasons, Plaintiff respectfully requests that judgment be entered

in her favor awarding her and the Class Members:

                                          22
    Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 23 of 24




a. Minimum wage compensation unadulterated by the tip credit;

b. Liquidated damages;

c. Reimbursement for all expenses and wages wrongfully withheld;

d. An order conditionally certifying this matter as a collective action;

e. An order requiring Defendants to correct their pay practices going forward;

f. Reasonable attorney’s fees, costs, and expenses of this action;

g. Pre-judgment interest (to the extent liquated damages are not awarded) and

   post judgment interest; and

h. Such other and further relief to which Plaintiff and the Class Members may

   be entitled, both in law and in equity.

   Respectfully submitted: November 18, 2021.

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                                       23
Case 1:21-cv-04778-SCJ Document 1 Filed 11/18/21 Page 24 of 24




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                              24
